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       1                                 UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF CALIFORNIA
       2

       3   RANDALL K. WALTON, ESQ., 155175
           1509 K STREET # 175
       4   MODESTO, CA 95354
       5   (209) 213-8847
           waltonbklaw@outlook.com
       6   Attorney for Debtor(s)
       7
           In Re:
       8
           RILEY RAY NARMORE,                                )     Case No.: No. 18-90420
       9                                                     )     DOCKET CONTROL NO: RKW-02
      10   DENISE RENAY NARMORE,                             )     DATE: JUNE 6, 2019
                                                             )     TIME: 10:30 A.M.
      11            Debtor(s).                               )     PLACE: UNITED STATES BANKRUPTCY
                                                             )     COURT
      12
                                                             )     DEPARTMENT E
      13                                                     )

      14

      15                                  MOTION TO ABANDON PROPERTY

      16            Debtors RILEY and DENISE NARMORE (“debtors”), hereby move the court for an
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           order compelling the Trustee to abandon certain property of the estate. This motion is
      18
           brought pursuant to 11 U.S.C. §554(b) and Federal Rules of Bankruptcy Procedure, Rule
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      20   6007 and on the basis that the business property described herein is burdensome to the

      21   estate and/or is of inconsequential value to the estate. The motion is also based on the
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           accompanying Declaration of Debtor, and schedules B and C, filed in this matter, of which
      23
           judicial notice is hereby requested.
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      25         1. Debtors filed this case on 5/2/19 (docket 1).

      26         2. Debtors listed their business, R-AN-D RENOVATIONS, business property, consisting

                    of “file cabinets, office supplies, 2 paint sprayers, 7 sawzalls, 3 drills, skill saw, table

                    saw, drill press, tile saw, very old welder, other misc. tools” and listed the value of



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       1            this business equipment at $3,500 (Schedule B, docket 1; decl. debtor page 1, lines
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                    2-27)
       3
                 3. Debtor also listed accounts receivable of $7,350 (Schedule B, docket 1; decl. debtor
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       5            page 1, line 28).

       6         4. Debtor properly exempted the business property in full, $3,500, pursuant to CCP §
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                    703.140(b)(6) and the accounts receivable in full, $7,350, pursuant to CCP §
       8
                    703.140(b)(5) (Schedule C, docket 1).
       9

      10         5. There is no value to the business above the value of the exempt business property

      11            and exempt accounts receivable. The only other value is the knowledge, skill
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                    experience and expertise of the debtor (decl. debtor page 2, lines 1-5).
      13
                 Therefore, the debtors’ business, business property and accounts receivable are
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      15         burdensome to the estate and/or are of inconsequential value to the estate, and debtor

      16         respectfully requests the Court grant this motion.
      17
                 RESPECTFULLY SUBMITTED:
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                 DATED: May 7, 2019
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      20                                                              /s/ RANDALL K. WALTON
                                                                      RANDALL K. WALTON
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